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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                      Case No. 2:12-cr-36-01

v.                                                      HON. ROBERT HOLMES BELL

CHAD STEVEN WARLIN,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 1, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant CHAD STEVEN WARLIN entered a plea of guilty to Count One of the Second

Superseding Felony Information, charging defendant with Conspiracy to Manufacture, Distribute

and Possess with Intent to Distribute Methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1),

and 841(b)(1)(B)(viii), in exchange for the undertakings made by the government in the written plea

agreement. On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force, threats,

or promises, apart from the promises in the plea agreement; that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to the Second Superseding

Felony Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. It is further recommended that

defendant remain detained pending sentencing. Acceptance of the plea, adjudication of guilt,

acceptance of the plea agreement, determination of defendant's status pending sentencing, and

imposition of sentence are specifically reserved for the district judge.



Date: May 2, 2013                                      /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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